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                                                December 29, 2020



                                                                                                             1/12/21
       VIA ECF

       The Honorable Alison J. Nathan
       Thurgood Marshall United States Courthouse
       40 Foley Square, Courtroom 906
       New York, NY 10007

                Re:     LRN Corp. v. Markel Ins. Co., No. 1:20-cv-8431-AJN

       Dear Judge Nathan,

               We are counsel for Defendant Markel Insurance Company (“MIC”) in the above-
       referenced matter. We write pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Rules
       7.1(d) and 5.2(b) of the Local Rules for the Southern District of New York, and Rules 1.A. and
       1.D. of Your Honor’s Individual Practices, to respectfully request that the deadline for Defendants
       MIC and Arch Insurance Company (“Arch”) (collectively, “Defendants”) to answer or otherwise
       respond to Plaintiff’s complaint (ECF No. 1) be extended through and including February 1, 2021.

               MIC’s original response date is December 31, 2020 and Arch’s original response date is
       January 8, 2021. Plaintiff is not objecting to extension, which will help ensure a common and
       efficient case schedule. No Defendant has previously requested an extension of the time to respond
       to this action. This extension will allow the Defendants and their counsel additional time to
       investigate the facts surrounding Plaintiff’s claims and to prepare a response to the Complaint.

              The Defendants also respectfully request that the Court adjourn the initial scheduling
       conference until after the responsive pleadings by the Defendants are filed, in order to preserve
       party and judicial resources. The initial scheduling conference is currently scheduled for January
       29, 2021. Pursuant to Your Honor’s Individual Practices, the parties submit the following three
       mutually agreed upon dates for the conference:

                1. March 5, 2021
                2. March 12, 2021
                3. March 19, 2021                                      Defendants' request for an extension of time to
                                                                       respond to the Complaint until February 1, 2021
                                                                       is hereby GRANTED. The initial pretrial
                                                           1/12/21     conference is hereby adjourned to March 12,
                                                                       2021 at 3:00 p.m.
                                                                       SO ORDERED.



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       Thank you for your consideration.



                                     Respectfully submitted,

                                     /s/Michael R. Delhagen

                                     Michael R. Delhagen

cc: All counsel of record (by ECF)
